                                                      IT IS ORDERED
                                                      Date Entered on Docket: June 25, 2019




                                                      ________________________________
                                                      The Honorable David T. Thuma
                                                      United States Bankruptcy Judge
______________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In re:
  DOROTHY MARIE BYRD,
         Debtor(s)                                                      No. 18-11852-t7

                 ORDER AUTHORIZING EMPLOYMENT OF REALTOR

         THIS MATTER has come before the Court on Trustee’s Application to Employ

  Realtor filed October 23, 2018, (“the Application”). The Court FINDS: (a) notice of the

  Application, with a 21-day opportunity to object, was given pursuant to Bankruptcy Rule

  2002(a)(2) to all parties in interest on the official mailing matrix maintained by the Clerk

  of the Court in this bankruptcy case on October 24, 2018, with a deadline to file a response

  to the Application on November 19, 2018; (b) the notice of the Application was sufficient

  in form and content and was appropriate in the particular circumstances; (c) an objection

  was timely filed by Nationstar Mortgage LLC but that objection has been withdrawn

  (doc. # 63); (d) the employment of Amy Ackroyd of TAL Realty as set out in this Order

  is appropriate.




   Case 18-11852-t7     Doc 65    Filed 06/25/19    Entered 06/25/19 11:53:49 Page 1 of 2
       IT IS THEREFORE ORDERED:

       1.     That the Trustee’s Application to Employ Realtor, be, and the same hereby

is approved and the employment of Amy Ackroyd of TAL Realty is hereby authorized.

       2.     The combined compensation of realtor and of BK Global, trustee’s short sale

consultant, is fixed at the rate of six percent (6.00%) of the sales price plus applicable gross

receipts tax plus expenses upon closing of sale of the subject property.

                                ###END OF ORDER###


/s/ submitted electronically
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 Case 18-11852-t7      Doc 65     Filed 06/25/19    Entered 06/25/19 11:53:49 Page 2 of 2
